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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  Southern Division

                                                   *
ROBYN KRAVITZ, et al.,
                                                   *
       Plaintiffs,                                           Case No.: GJH-18-1041
                                                   *
v.
                                                   *
UNITED STATES DEPARTMENT OF
 COMMERCE, et al.,                                 *

Defendants.
                                                   *
*      *       *       *      *       *       *        *     *       *       *       *      *

LA UNIÓN DEL PUEBLO ENTERO, et al.,
                                                   *
       Plaintiffs,                                           Case No.: GJH-18-1570
                                                   *
v.
                                                   *
WILBUR ROSS, et al.,                               *

Defendants.                                        *

*      *       *       *      *       *       *        *     *       *       *       *      *

                                             ORDER

       For the reasons to be stated in a forthcoming Memorandum Opinion, it is ordered by the

United States District Court for the District of Maryland that Plaintiffs’ Request for Indicative

Ruling Under Rule 62.1(a), ECF No. 162, is GRANTED. The Court concludes that Plaintiffs’

Rule 60(b)(2) Motion raises a substantial issue.




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       It is further ordered that pursuant to Rule 62.1(b), Plaintiffs shall promptly notify the

circuit clerk under Federal Rule of Appellate Procedure 12.1 of the Court’s decision.

       SO ORDERED.


Dated: June 19, 2019                                                   /s/
                                                              GEORGE J. HAZEL
                                                              United States District Judge




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